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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

Case: 1:24-mj-00274

)
: ) Assigned To: Judge G. Michael Harvey
ses Eke Saree ) Assign. Date : 8/23/2024
Description: COMPLAINT W/ARREST WARRANT
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Jason Barrett 5
who is accused of an offense or violation based on the following document filed with the court:

C1 Indictment C Superseding Indictment 1 Information  Superseding Information [Mf Complaint

1 Probation Violation Petition Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 111(a)(1) — Assaulting, Resisting, or Impeding Certain Officers;

18 U.S.C. § 231(a)(3) — Obstruction of Law Enforcement during Civil Disorder;

18 U.S.C. § 1752(a)(1) — Entering and Remaining in a Restricted Building or Grounds;

18 U.S.C. § 1752(a)(2) — Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
18 U.S.C. § 1752(a)(4) — Engaging in Physical Violence in a Restricted Building or Grounds;

40 U.S.C. § 5104(e)(2)(D) — Disorderly Conduct in a Capitol Building. MMe ,
Date: 08/23/2024 ( Rees
Issuing officer's signature
City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) _ ___, and the person was arrested on (date)

at (city and state)

Date:

Arresting officer’s signature

Printed name and title

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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender: Jason Brian Barrett

Known aliases:

Last known residence: ee. Myrtle Beach, SC 29579

Prior addresses to which defendant/offender may still have ties: 1610 Highway 9 East, Longs, SC 29568

Last known employment:

Last known telephone numbers: 843-251-8442

Place of birth:

Date of birth: a

Social Security number: a

Height: Weight:
Sex: Race:
Hair: Eyes:

Scars, tattoos, other distinguishing marks:

History of violence, weapons, drug use:

Known family, friends, and other associates (name, relation, address, phone number):

FBI number:

Complete description of auto:

Investigative agency: Federal Bureau of Investigation / Special os

Investigative agency address:

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):

Date of last contact with pretrial services or probation officer (if applicable):

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AO 91 (Rey. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
a. ) Case: 1:24-mj-00274

Sasser Wiubees ) Assigned To : Judge G. Michael Harvey

HOD BElan Datrent ) Assign. Date : 8/23/2024

DOB: 08/27/1975 Description: COMPLAINT W/ARREST WARRANT

)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the

in the District of Columbia __, the defendant(s) violated:

Code Section Offense Description

18 U.S.C. § 111(a)(1) — Assaulting, Resisting, or Impeding Certain Officers,

18 U.S.C. § 231(a)(3) — Obstruction of Law Enforcement during Civil Disorder,

18 U.S.C. § 1752(a)(1) — Entering and Remaining in a Restricted Building or Grounds,

18 U.S.C. § 1752(a)(2) — Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
18 U.S.C. § 1752(a)(4) — Engaging in Physical Violence in a Restricted Building or Grounds,

40 U.S.C. § 5104(e)(2)(D) — Disorderly Conduct in a Capitol Building.

This criminal complaint is based on these facts:

See attached statement of facts.

iM Continued on the attached sheet. Po

Complainant's signature

—— Es peciat acen

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. A
G,

Judge’s signature

Date: 08/23/2024

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

Printed name and title

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Assigned To : Judge G. Michael Harvey
Assign. Date : 6/23/2024
Description: COMPLAINT W/ARREST WARRANT

STATEMENT OF FACTS

Introduction and Agent Background

Your affiant, is a Special Agent with the Federal Bureau of
Investigation. I have been a Special Agent since 0000000 have investigated national
security matters of individuals and groups involved in both international and domestic terrorism.
Additionally, | have completed FBI administered counterterrorism classroom and online training,
while at the FBI Academy. Currently, | am assigned to the South Carolina Joint Terrorism Task
Force (JTTF). My duties on the JTTF include investigating criminal violations of federal laws of
the United States. As an FBI Agent, I have participated in investigations of individuals who are
motivated by extremist ideology and groups who commit or conspire to commit criminal acts,
including acts of terrorism. I have conducted and participated in physical and electronic
surveillance, executed search warrants, and debriefed informants. Additionally, I have received
training, both formal and informal, in counter terrorism cases through the FBI’s training academy
in Quantico, Virginia. Through my investigations, training, and experience, I have become familiar
with individuals motivated by extremist ideology who violate United States Federal law.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
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p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

Identification of Jason Brian Barrett

In or about October 2023, the FBI identified an unknown male (SUBJECT 1), later
identified as JASON BRIAN BARRETT, who participated in the riot, wearing a dark green
hoodie, a brown jacket, a white and blue baseball cap, sunglasses, grey and black Kobalt gloves,
blue jeans with tears along the front, and a light grey backpack.

Images 1-3: Screenshots of open-source footage showing SUBJEC T 1 on Capitol grounds on
January 6, 2021

The FBI located SUBJECT 1 in archived open-source footage and body worn camera
footage from the events at the Capitol and found numerous videos showing SUBJECT 1’s conduct
on January 6, 2021, including assaulting a police officer on the southwest corner of the Western
Plaza of the U.S. Capitol. Video footage shows that, while rioters were attempting to overwhelm
officers and breach the police line, SUBJECT 1 grabbed a Metropolitan Police Department officer
from behind. At another time, SUBJECT | was observed picking up a bicycle patrol officer’s
police helmet and throwing it in the general direction of security barriers and posts manned by
police officers.
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The FBI identified an individual from social media account associate with “Jason Barrett”
that appeared to depict the likeness and image of SUBJECT | in posts made on January 5 and 6,
2021. The “Jason Barrett” from the social media account posted a publicly available video on
January 5, 2021, wherein “Jason Barrett” discussed his impending travel to Washington D.C. and
appeared to be wearing the same white and blue baseball hat as SUBJECT | was seen wearing at
the U.S. Capitol on January 6, 2021.Your affiant compared photos and video footage from the
social media account with photographs and video footage from January 6, 2021, and concluded
that they depict the same person.

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Images 4-7: Top images are screenshots of open-source footage showing SUBJECT 1 on Capitol
grounds on January 6, 2021, and bottom images are screenshots of a video posted on a social
media account associated with “Jason Barrett” from January 5, 2021 regarding a trip to
Washington, D.C.

Additionally, the FBI made consensual contact with a male believed to be BARRETT in
May 2024. This male appeared to have the same physical likeness of SUBJECT 1 from the video
footage taken on January 6, 2021. The FBI Agents concluded that BARRETT appeared to be the
individual labeled SUBJECT 1 and depicted in the photographs and videos at the Capitol.

BARRETT?’s Participation in The Capitol Riot

On January 6, 2021, by around 1:00 p.m., a mob breached the U.S. Capitol grounds and
flooded the West Plaza.
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Image 8: Screenshot of Capitol surveillance footage showing the West Front flooded with rioters
As officers attempted to fend off the crowd, BARRETT can be seen climbing over a short

wall, retrieving a blue “Trump 2020” flag, assisting other rioters over the wall, and making his
way closer to the line of police officers.

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ng BARRETT on Capitol grounds
climbing over a short wall, retrieving a flag, and assisting another individual climb over the wall

Images 9-11: Screensho

At about 1:12 p.m., police officers from the Metropolitan Police Department arrived on
the scene to assist the Capitol Police. Together, the officers formed another line of bike rack
barricades and moved the crowd back.

Image 12: Screenshot of Capitol surveillance footage showing the West Front flooded with

rioters as officers established a bike rack line and moved the crowd back

Even with the crowd moved behind barriers, the rioters continued to attack the police
officers using various weapons, and eventually the crowd pulled away the bike racks barricades.
As officers continued to fend off constant attacks from the crowd, BARRETT remained at the front
of the mob.
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Image 13: Screenshot of open-source footage showing BARRETT at the front of the mob, facing
a line of police officers

As the crowd grew increasingly agitated and aggressive towards the police officers, the
mob made a concerted effort forward. At this time, BARRETT forcefully grabbed a Metropolitan
Police Department (MPD) bicycle patrol officer from behind, wrapped his arm around the officer’s
neck, and maintained control over the officer. The officer repeatedly yelled, “GET OFF ME!” as
BARRETT continued his attack. Nearby officers came to the officer’s aid and saved the officer
from BARRETT’s attack.

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Images 14-16: Screenshots of body worn camera footage (first image) and open source footage
(second and third images) showing BARRETT grabbing a police officer by the neck

After the police officer broke free from BARRETT’s attack, BARRETT dropped back
from the police line, picked up a white helmet, and threw it in the general direction of security
barriers and posts manned by police officers.

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Images 17-19: Screenshots of body worn camera footage showing BARRETT picking up a helmet
Jrom the ground and throwing it towards police officers

After having been flanked and attacked for over an hour-and-a-half, the mob surged
forward through the bike rack barriers and broke the police line, gaining access to the Capitol.

For the reasons set forth above, I submit there is probable cause to believe that
BARRETT violated:

l. 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault or interfere with
any person designated in section 1114 of this title 18 while engaged in or on account of the
performance of official duties. Persons designated within section 1114 include any person assisting
an officer or employee of the United States in the performance of their official duties.

2. 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
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department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes. “Civil disorder” means any public disturbance involving acts of violence by assemblages of
three or more persons, which causes an immediate danger of or results in damage or injury to the
property or person of any other individual.

3. 18 U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so; and (4) knowingly
engage in any act of physical violence against any person or property in any restricted building or
grounds, or attempt or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

4. 40 U.S.C. § 5104(e)(2), which makes it a crime for an individual or group of
individuals to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage
in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress; and (F) engage in an act of physical

violence in the Grounds or any of the Capitol Buildings.

Special Agent
Federal Bureau ot Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 23rd day of August 2024.

HONORABLE G. MICHAEL HARVEY
MAGISTRATE JUDGE
